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                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF VIRGINIA
                                    Alexandria Division
                                                                                  UcC i 6 A b- k2

MICROSOFT CORPORATION,a                                                   i\LCj\hiiUhU\»
Washington corporation,

                  Plaintiff.                         Civil Action No: [ \^'\ ej               ^
       V.



JOHN DOES 1-2, CONTROLLING                       FILED UNDER SEAL PURSUANT
A COMPUTER NETWORK                               TO LOCAL CIVIL RULE 5
THEREBY INJURING PLAINTIFF
AND ITS CUSTOMERS,


                  Defendants.




                                          COMPLAINT

       Plaintiff MICROSOFT CORP. ("Microsoft") hereby complains and alleges that

JOHN DOES 1-2 (collectively "Defendants"), have established an Internet-based cyber-

theft operation referred to as "Thallium." Through Thallium. Defendants are engaged in

breaking into the Microsoft accounts and computer networks of Microsoft's customers and

stealing highly sensitive information. To manage and direct Thallium, Defendants have

established and operate a network of websites, domains, and computers on the Internet,

which they use to target their victims, compromise their online accounts, infect their

computing devices, compromise the security of their networks, and steal sensitive

information from them. Internet domains used by Defendants to operate Thallium are set

forth at Appendix A to this Complaint and are referred to as the "Command and Control

Infrastructure." Microsoft alleges as follows:

                                NATURE OF THE ACTION


       I.     This is an action based upon:(1)the Computer Fraud and Abuse Act, 18 U.S.C. §


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